                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 U.S. BANK, NATIONAL ASSOCIATION,
 in its capacity as Trustee, JOSHUA N.
 TERRY,      AND      ACIS     CAPITAL
 MANAGEMENT, L.P.,
                                                   No. 1:21-cv-11059 (GHW-JLC)
                     Plaintiffs,
                                                   Notice of Motion to Dismiss
       v.

 THE CHARITABLE DONOR ADVISED
 FUND, L.P., CLO HOLDCO LTD., AND
 NEXPOINT STRATEGIC
 OPPORTUNITIES FUND,

                     Defendants.

      PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law

and the supporting declaration of Mark Patrick with exhibits annexed thereto,

defendants, The Charitable Donor Advised Fund, L.P., and CLO Holdco, Ltd., hereby

moves this Court before the Honorable Gregory H. Woods, at the United States

Courthouse, 500 Pearl Street, New York, New York 10007, for an order, pursuant to

Federal Rules of Civil Procedure 12(b) (1), (6) and 17 (a), dismissing the Amended

Complaint in its entirety as to these defendants, and granting such other and further

relief as the Court deems just and proper.




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Dated: April 18, 2022         Respectfully submitted,

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                              L.P., and CLO Holdco, Ltd.

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